 

UNITED STATES DISTRIC'I` COURT

DISTRICT OF MINNESOTA
Case No.;
UNITED STATES of AMERICA, )
Plaintiff, § INFORMATION
v. § (18 U.S.C. § 793(e))
TERRY J. ALBURY, §
Defendant. §

The Assistant Attorney General for National Security charges:

COUNT ONE
(Unauthorized Disclosure of National Defense Information)

l. From in or about February 2016 through on or about January 31, 2017, in the
District of Minnesota and elsewhere, the defendant, TERRY J. ALBURY, having
unauthorized possession of, access to and control over documents and information relating
to the national defense, to wit: a document pertaining to assessing Contidential Human
Sources dated August 17, 2011, and an undated document relating to threats posed by
certain individuals from a particular Middle Eastern country, did knowingly and willfully
communicate, deliver, and transmit those aforesaid documents and information to a person
not entitled to receive it, to wit, a reporter for a national media organization, in violation of

Title 18, United States Code, Section 793(e).

 

 

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(Unauthorized Retention of National Defense lnforrnation)

2. From on or about April 7, 2017, to on or about August 28, 2017, the
defendant TERRY J. ALBURY, having unauthorized possession of, access to, and control
over documents relating to the national defense, to wit: a document relating to the use of
an online platform for recruitment by a specific terrorist group, did willfully retain the
documents and fail to deliver them to an officer and employee of the United States entitled

to receive it, in violation of Title 18, United States Code, Section 793(e).

Respectfully Submitted,
JOHN C. DEMERS JEFFERSON B. SESSIONS III
Assistant Attorney Generai United States Attorney General `
for National Security l
Attomey for the United States, TRACY DOHERTY-MCCORMICK

Acting Under Authority Conferred Acting United States Attomey for
the Eastern District of Virginia

by 28 U.s.C. § 51

 
 

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Patrick T. hy
David C. Recker Assistant United States ttorney
Trial Attorneys Special Assistant to the Attomey General

National Security Division

 

